7/10/2018   8:14-cv-00049-JMG-SMB Nebraska
                                   Doc #Secretary
                                           402-2 of Filed:
                                                    State - Corporation
                                                             07/10/18   and Business
                                                                             Page 1  Entity
                                                                                       of Searches
                                                                                            2 - Page ID # 17617
     DATABASEUSA.COM LLC
                                                                                                                      Tue Jul 10 14:32:05 2018


     SOS Account Number
     10182989
     Status
     Active

     Principal Office Address
     9017 GREENSBORO LANE
     LAS VEGAS, NV 89134
     Registered Agent and Office Address
     PAUL E. NIETZEL
     11144 MOCKINGBIRD DRIVE
     OMAHA, NE 68137

     Nature of Business
     Not Available
     Entity Type
     Foreign LLC
     Qualifying State: NV
     Date Filed
     Oct 10 2013


  Filed Documents
  To purchase copies of filed documents check the box to the left of the document code. If no checkbox appears, contact the Secretary
  of State's office to request the document(s).

            Code Document                                           Date Filed                                Price

            FCA     Certificate of Authority                        Oct 10 2013                               $1.35 = 3 page(s) @ $0.45 per
                                                                                                              page

            BR      Biennial Report                                 Mar 27 2015                               $0.45 = 1 page(s) @ $0.45 per
                                                                                                              page

            BR      Biennial Report                                 Mar 30 2017                               $0.45 = 1 page(s) @ $0.45 per
                                                                                                              page


  Good Standing Documents
  To purchase documents attesting to the entity's good standing check the box next to the document title.

            If you need your Certificate of Good Standing Apostilled or Authenticated for use in another country, you must contact the
            Nebraska Secretary of State's office directly for information and instructions. Documents obtained from this site cannot be
            Apostilled or Authenticated.


            Online Certificate of Good Standing with Electronic Validation

            $6.50
                This certificate is available for immediate viewing/printing from your desktop. A Verification ID is provided on the
                certificate to validate authenticity online at the Secretary of State's website.


            Certificate of Good Standing - USPS Mail Delivery

            $10.00
                This is a paper certificate mailed to you from the Secretary of State's office within 2-3 business days.

https://www.nebraska.gov/sos/corp/corpsearch.cgi?acct-number=10182989                                                                            1/2
7/10/2018   8:14-cv-00049-JMG-SMB Nebraska
                                   Doc #Secretary
                                           402-2 of Filed:
                                                    State - Corporation
                                                             07/10/18   and Business
                                                                             Page 2  Entity
                                                                                       of Searches
                                                                                            2 - Page ID # 17618

  Select All | Select None


                                                                                                          Back to Top




https://www.nebraska.gov/sos/corp/corpsearch.cgi?acct-number=10182989                                                2/2
